Case
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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION   APPROVED. Case is dismissed
                                                                      with prejudice.
 DANNY BARTON, TRUSTEE, and                   )
 INDIANA TEAMSTERS HEALTH                     )
                                                                    Dated: 9/12/19
 BENEFITS FUND,                               )
                                              )
                Plaintiffs,                   )
                                              )
        v.                                    ) Cause No. 1:18-cv-3842-RLY-DLP
                                              )
 SHOSHONE TRUCKING, LLC,                      )
                                              )
                Defendant.                    )

                NOTICE OF DISMISSAL PURSUANT TO RULE 41(a)(1)(A)

        Comes now the Plaintiffs, Danny Barton, Trustee, and Indiana Teamsters Health Benefits

 Fund, and hereby serves notice that this matter is dismissed with prejudice.

                                                      Respectfully submitted:

                                                      /s/ David T. Vlink
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